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          8 BRUCE R. GREENE,Esq.
          9

         10                                UNITED STATES BANKRUPTCY COURT

         11                                    EASTERN DISTRICT OF CALIFORNIA

         12                                            FRESNO DIVISION

         13 I In re                                             CASE NO. 17-13797

         14      TULARE LOCAL HEALTHCARE                        Chapter 9
                 DISTRICT, dba TULARE REGIONAL
         15      MEDICAL CENTER,                                ADV.PROC. 19-01052

         16                   Debtor.                           OPPOSITION OF BAKER & HOSTETLER
                                                                LLP AND BRUCE R. GREENE,ESQ.TO
         17      Tax ID #:    XX-XXXXXXX                        AMENDED DEBTOR TULARE LOCAL
                                                                HEALTHCARE DISTRICT'S MOTION FOR
         18      Address:     869 N. Cherry Street              REMAND OFLAWSUIT TO STATE COURT
                              Tulare, CA 93274                  PURSUANT TO 28 U.S.C. ~ 1452(B)
         19
                                                                Date: July 17, 2019
         20      TULARE LOCAL HEALTHCARE                        Time: 1:30 p.m.
                 DISTRICT, dba TULARE REGIONAL                  Place: 2500 Tulare Street
         21      MEDICAL CENTER,                                       Fresno, CA 93721
                                                                       Courtroom 13
         22                   Plaintiff,                        Judge: Honorable Rene Lastreto iI

         23 ~~           v.

         24      BRUCE R. GREENE;BAKER &
                 HOSTETLER,LLP,a limited liability
         25      partnership; PARMOND KUMAR,M.D.;
                 LINDA WILBOURN; RICARD TORREZ;
         26      and Does 1 through 50, inclusive,
         27                   Defendants.

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          1            Baker &Hostetler LLP ("B&H") and Bruce R. Greene, Esq. ("Greene") (collectively, the

          2 "Defendants") file this response ("Response") in opposition to the Amended Debtor Tulare Locul

          3 Healthcare District's Motion for Remand ofLawsuit to State Court Pursuant to 28 U.S.C. ~ 1452(B)

          4 (Doc. No. 17) (the "Debtor" and the "Motion," respectively), requesting that the Court maintain

          5 jurisdiction over the above-captioned adversary proceeding ("Adversary Proceeding") and state as

          6 follows in support.

          7                                    I.          SUMMARY OF ARGUMENT
          8             This is now the fourth adversary proceeding before this Court involving the same intertwined set

          9 of facts and allegations. As such, this Court has significant familiarity with the facts and issues in this

         10 Adversary Proceeding,especially when compared to the state court that never conducted a single hearing

         11      or proceeding in this matter in the approximately 30 days the case was pending there. The Court's

         12 resolution of this Adversary Proceeding will necessarily determine the validity and amount of B&H's

         13 Proof of Claim (as defined below) and the set-off of such claim against any damages awarded to the

         14 Debtor and is thus a core proceeding affecting the liquidation of the assets of the debtor and the
         15 adjustment of the debtor-creditor relationship. In addition to having core jurisdiction, the Court has

         16 jurisdiction over the Adversary Proceeding under its broad related to jurisdiction over any action that

         17 "could conceivably have any effect" on the bankruptcy case. It is undisputed that this Court is not

         18 required to abstain from this Adversary Proceeding, and the Court should not exercise its discretion to
         19 equitably remand it because the most relevant of the equitable remand factors and judicial efficiency

         20 weigh heavily in favor of retaining jurisdiction over the Adversary Proceeding.
         21                                         II.      STATEMENT OF FACTS
         22 A.          The Bankruptcy Case
         23             The Debtor commenced this case by filing a voluntary petition for relief under Chapter 9 of the

         24 Bankruptcy Code' on September 30, 2017(Doc. No. 1)(the "Petition Date").
         25             On October 24,2017,the Debtor filed its List of20 Largest Creditors(Doc No. 135)identifying

         26 B&H as a creditor owed more than $300,000, and thereafter filed its List of Creditors and Claims
         27 Pursuant to 11 U.S.C. §§ 924 and 925 (Doc. No. 154) identifying B&H as a creditor in an "unknown"

         28       All references herein to the "Bankruptcy Code" refer to 11 U.S.C. §§ 101 et seq.
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           1     amount. Consistent with the Debtor's representations that B&H was its creditor, B&H timely filed a
                 proof of claim in the amount of $498,825.40 based on legal services performed for the Debtor through
          3 September 30, 2017. (See Claim No. 225-1)(the "Proof of Claim"). The Debtor has not objected to the

          4 Proof of Claim.

          5             Beginning shortly after the Petition Date, the Debtor and Healthcare Conglomerate Associates,
          6 LLC("HCCA")extensively litigated the Debtor's motion to reject a number of agreements between the

          7 parties, including the Management Services Agreement("MSA")(Doc. Nos. 32,34-35,81-92, 103-117,

           K     126). The Debtor's basis for seeking rejection of the MSA included that the relationship between the
           q     parties had deteriorated due to a dispute between the Debtor's board of directors over their respective
          l U authority and whether the Celtic Transaction (as defined below) was properly authorized by the Debtor

          11     — common factual issues that were also at issue in the related Celtic and HCCA adversary proceedings
          12 and now form the basis for this Adversary Proceeding. The Court ultimately granted the motion to reject

          13 (Doc. No. 181).
          14 ~ B.       The Celtic Adversary Proceeding(Adv. Proc. 18-01008)
          15            In February 2018, the Debtor filed an adversary proceeding against Celtic Leasing Corp., MB

          16 Financial Bank, N.A., and MB Equipment Finance, LLC (the "Celtic Adversary" and "Celtic Parties,"
          17 respectively) in which the Debtor sought to avoid and recover transfers that were part of apre-petition I

          18 transaction between the Debtor and one or more of the Celtic Parties (the "Celtic Transaction"). The

         fL'l Celtic Adversary involved the same inextricably intertwined facts that form the basis for this Adversary

         20 Proceeding:
         21            (i)      HCCA and the Debtor entered into a MSA and related contracts under which Healthcare

         22                     Conglomerate Associates, LLC ("HCCA") and its principal, Benny Benzeevi, MD

         23                    ("Benzeevi") managed the Debtor's operations(HCCA Adversary, Doc. No. 9, ¶¶8-11);

         24            (ii)     In September 2016, various citizens began a campaign to recall one ofthe Debtor's five'

         25                     board members, Parmod Kumar ("Kumar"), and that campaign resulted in a recall )

         26                     election to be held in July 2017 (id. at ¶¶14, 19);

         27            (iii)   In November 2016,the District conducted an election for two seats on the board and Kevin ~

         28                     Northcraft("Northcraft") and Michael Jamaica("Jamaica") were elected (id. at ¶15);

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          1         (iv)    HCCA and Benzeevi believed Northcraft and Jamaica, the two new board members, had.

                            substantial disagreements with the three existing board members over how to manage the

          3                 Debtor (id. at ¶16);

          4        (v)      In June 2017, the Debtor convened a meeting of the Debtor's board at which time the

          5                 Debtor authorized a borrowing of up to $22 million to fund the its operations("Resolution

          C'                852")(id. at ¶20);

          7        (vi)     In July 2017, a special election was held at which Kumar was recalled and Senovia

          8                  Gutierrez("Gutierrez") was elected to the Debtor's board (id. at ¶21);

          q        (vii)     Thereafter, a dispute arose between Kumar, Gutierrez, and others over when Kumar's

         10                  role as a board member would officially end and Gutierrez's role would officially begin

         11                 (id. at ¶¶22-25);

         12         (viii) As part of the dispute, the Debtor stated that Gutierrez would not be recognized as board

         13                  member until certain conditions were satisfied (id. at ¶¶25-26);

          14        (ix)     Thereafter, Northcraft and Jamaica, as board members, and Gutierrez, purporting to act

          IJ                 as a board member, reacted by scheduling multiple specially-scheduled board meetings

          16                 at which, despite the conditions to recognizing Gutierrez as a board member remaining

          17                 unsatisfied, they allegedly took actions on behalf of the Debtor by purporting to act as a

          ix                 majority of the Debtor's board of directors (id. at ¶¶26-30);

          19        (x)      Because ofthe dispute over which individuals constituted the Debtor's board of directors,

         20                  both groups disputed that the actions purportedly taken by the other were valid (icl. at

         21                  ¶¶31-32);

         22         (xi)     The Debtor alleges that the Defendants provided one or more of the Celtic Parties with

         23                  an opinion letter on which they relied in order to proceed with the Celtic Transaction (the

         24                 "Opinion Letter")(id. at ¶53);

         25         (xii)    In August 2017, the Debtor and one or more of the Celtic Parties entered into the Celtic

         26                  Transaction (id. at ¶¶ 40-51, 54-59); and

         27         (xiii) The Debtor alleges that the Celtic Transaction was not properly authorized by the Debtor
         28                  because the special-set board meetings by Northcraft, Jamaica, and Gutierrez were valid ~',

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                                board actions and the Debtor's authority to enter into the Celtic Transaction was rescinded

                                at those meetings (id. at ¶¶29-32).

           3            After approximately a year of litigating the Celtic Adversary before the Court, the Debtor and

          4 the Celtic Parties entered into a settlement agreement under which, among other things,(i) the Debtor

          5 agreed to pay one or more of the Celtic Parties $500,000, (ii) all assets subject to the dispute were

          6 transferred to the Debtor,(iii) one or more ofthe Celtic Parties were granted an allowed unsecured claim;

          7 (iv) the parties executed broad mutual releases of any and all claims they held against each other, and

          8 (v)the Celtic Adversary was dismissed.

          9 C.          The HCCA Adversary Proceedings(Adv. Procs. 17-01095 and 18-01005)
         10             Prior to the Petition Date, HCCA filed a lawsuit against the Debtor in California state court

         11      seeking damages for the Debtor's breach ofthe MCA and seeking declaratory relief related to the MCA.

         12 The basis for HCCA's claims against the Debtor included the same core of facts in dispute in the Celtic

         13 Adversary and in this Adversary Proceeding, including that: (i) HCCA's management of the Debtor's

         14 operations pursuant to the MSA (HCCA Adversary, Doc. No. 4, ¶¶8-11); (ii) the extent to which the

         15 parties performed their obligations under the MSA (¶¶13-26);(iii) the occurrence and aftermath of the

          16 November 2016 election at which Northcraft and Jamaica were elected to the board, and the dispute

         17 between HCCA and the actual and purported members of the Debtor's board (¶¶29-40). The Debtor

          18 filed a counterclaim against HCCA relating to (i) the Debtor's efforts to obtain financing that ultimately

          LLB    led to the Celtic Transaction,(ii) the recall election involving Kumar and Gutierrez and the dispute over

         20 their respective authority, and (iii) alleged efforts to "interfere" with the seating of Gutierrez by the

         21      Debtor's legal counsel,"Baker Hostetler and Bruce Greene." (Doc No. 9, ¶¶12-15.)

         22             After the Petition Date, the Debtor removed the HCCA lawsuit to this Court by filing a Notice

         23 ofRemoval(the"HCCA Adversary"), correctly stating that removal was appropriate because the claims

         24 at issue would "have a clear and direct impact on the bankruptcy estate and. will therefore have a

         25 significant effect on the administration ofthe estate" due to HCCA's status as a creditor and because the

         26 "determination ofthe Lawsuit necessarily involves the allowance or disallowance ofHCCA's substantial

         27 and highly disputed claims)against TRMC." (HCCA Adversary, Doc. No 1 at ¶8.)

         28             Thereafter, HCCA filed a motion to remand the HCCA Adversary. The Debtor opposed the

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              motion, asserting that the Court should retain jurisdiction because the parties' claims "form the center

          2 of, and are inextricable intertwined in, a web of litigation pending, and to be pending, in this Court" and

          3 that consolidating the litigation before the Court would "allow for the efficient adjudication of claims

          4 concerning a debtor's liability to its creditors as well as a debtor's claims against its creditors." (HCCA

          5 Adversary, Doc. No. 59 at 2.) More specifically, the Debtor correctly identified that the HCCA

          6 Adversary would involve adjudicating the facts and issues "respecting the events surrounding the

          7 election ofNorthcraft and Jamaica to the Board,the recall election in which Gutierrez was elected to the

          8 Board and the authority or lack thereof to borrow funds or sell District assets in connection with the

          9 Celtic Transaction." (Id. at 16.) The Debtor further asserted that a remand was inappropriate because

         10 after considering the multitude of pleadings relating to the Debtor's pre-petition operations, the court

         1 1 "has gained an extensive understanding ofthe issues" in the HCCA Adversary, whereas in the state court

         12 case there had been "no activity whatsoever" and remanded the case would "only be inefficient, [and]

         13 duplicate the time, cost and expense of litigating the facts and legal issues in anon-bankruptcy forum

         14 that has no familiarity with the facts and issues ...." (Id. at 25-26, 28.)

         15           In January 2018, the Debtor filed a second adversary proceeding against HCCA (the "Second

         16 HCCA Adversary") seeking to avoid and recover a transfer evidenced by a Deed of Trust made for the

         17 purpose of securing repayment of apre-petition loan from HCCA to the Debtor in connection with the

         18 MSA, which was the subject of the Celtic and HCCA Adversary Proceedings. Similar to the other

         19 adversary proceedings, the Debtor alleged that HCCA did not have proper authorization from the

         20 Debtor's board of directors, this time to execute the Deed of Trust, and thus the Deed of Trust was void.

         21      D.   This Adversary Proceeding(Adv. Proc. 19-01052)
         22           Recently, on Apri124, 2019,the Debtor filed a Complaint against the Defendants and three other

         23 individuals, alleging claims for breach of fiduciary duty, fraud, professional negligence, and breach of

         24 contract for legal services. Significantly, the Complaint involves the same set of intertwined facts that

         25 have been at issue throughout the bankruptcy case, including (i) the Debtor's relationship with HCCA

         26 (Doc. No. 1 at ¶¶14-17), (ii) the Debtor's efforts to obtain financing that ultimately led to the Celtic

         27 Transaction (id. at ¶¶ 36-43),(iii) the recall election involving Kumar and Gutierrez and the dispute over

         28 their authority leading to clashes over what purported board actions were valid (id. at ¶¶44-70),(iv) the

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                 Defendants' opinion letter provided to the Celtic Parties (id. at ¶¶71-77), and (v)the Debtor's allegation

                 that the Defendants took various inappropriate actions with respect to the Celtic Transaction and

                 improperly received benefits flowing from the Celtic Transaction (id.. at ¶¶78-86). Although the

               ~ Complaint alleges the same set offacts that the Debtor previously asserted were intertwined to litigations

                 filed and to be filed before this Court, the Complaint fails to even mention that the Plaintiff is a Debtor

          6 before this Court.

          7             On June 4, 2019, the Defendants filed their Answer and Affirmative Defenses to Plaintiff's

          8 Complaint (Doc. No. 5)("Answer"), properly asserting B&H's right to set-off any damages awarded

          9 against B&H's Proofof Claim, with "the Proofof Claim allowed to the extent that the damages awarded

         10 in this action are less than the amount of the Proof of Claim, and the Proof of Claim disallowed and a

         1 1 judgment entered against B&H only to the extent such damages are more than the amount of the Proof

         12 of Claim." The Defendants' Answer also asserts affirmative defenses of estoppel and unclean hands

          13 based on the fact that the Debtor expressly and validly authorized and directed the Defendants to take

         14 many of the actions that the Debtor is now alleging form the basis for the Defendants' liability to the

          15 Debtor.

          16             On June 17, 2019, the Debtor filed its Motion requesting that the Court exercise its discretion to

          17 equitably remand this Adversary Proceeding to the state court before which this case was pending for

          1~     approximately 30 days. The Debtor's Motion should be denied.

          19                                               III.    ARGUMENT

         20              One of the fundamental goals of bankruptcy is to "centralize all disputes concerning property

         21      the debtor's estate so that reorganization can proceed efficiently, unimpeded by uncoordinated

         22 proceedings in other arenas." Kismet Acquisition, LLC v. Icenhower (In e Icenhower), 757 F.3d 1044,

         23      1051 (9th Cir. 2014).2 This Adversary Proceeding wasjust such an "uncoordinated proceeding" pending

         24 in anon-bankruptcy forum that was properly centralized before this Court, and this Court should retain

         25 jurisdiction over the Adversary Proceeding.

         26 A.           The Court has Jurisdiction Over the Adversary Proceeding.
         27              The Debtor contends that the issues in this Adversary Proceeding do not "arise under" the

         28 z In a chapter 9 case, property of the estate means property of the debtor. 11 U.S.C. ~ 902(1).

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          1      Bankruptcy Code or "arise in" the Debtor's bankruptcy case, and therefore, are non-core proceedings.

          2 Whatever the merits ofthis argument were at the time the case was removed,they are now moot because

          3 the Defendants filed their Answer properly asserting a right to set-off the amount of the Proof of Claim

          4 against any damages awarded to the Debtor in the Adversary Proceeding. As such, the Adversary

          5 Proceeding is a core proceeding because the Adversary Proceeding directly implicates this Court's

          6 authority to determine the allowance and disallowance of claims against the estate, and the liquidation

          7 of assets of the debtor or the adjustment of the debtor-creditor relationship.                See 28 U.S.C.

          8

          9             Bankruptcy courts have jurisdiction over "all civil proceedings arising under title 11, or arising

         10 in or related to cases under title 11." 28 U.S.C. § 1334(b). "Arising under" and "arising in" are terms

         11      of art. Proceedings "arising under" title 11 involve causes of action created or determined by a statutory

         12 provision of the Bankruptcy Code. See In re Wilshire Courtyard, 729 F.3d 1279, 1285 (9th Cir. 2013).

         13 Proceedings "arising in" title 11 do not involve causes of action created or determined by the Bankruptcy

          14 Code but involve claims which would have no existence outside of a bankruptcy case. Id. Claims

         15 "arising under" and "arising in" are typically core matters. In re Harris Pine Mills, 44 F.3d 1431, 1435

          16 (9th Cir. 1995).

         17             Core matters are more specifically defined as those directly concerning the "restructuring

          18 debtor-creditor relations" and which constitute the "core of bankruptcy power." See Northern Pipeline

          19 Construction Co. v. Marathon Pipe Line Co., 458 U.S. 50, 71 (1982). 28 U.S.C. § 157(b) provides a

         20 broad, non-exclusive list ofcore matters, including the "allowance or disallowance of claims against the

         21      estate," and "other proceedings affecting the liquidation of the assets of the estate or the adjustment of

         22 the debtor-creditor" relationship." Id. at (b)(2)(B),(0). Additionally, it has been held that, even when

         23 claims are traditionally non-core, if the claims arise from the same operative acts as the core claim and
         ~.L'! proofs of claim, the non-core claims can be considered core claims. See In re Iridium Operating, LLC,

         25 285 B.R. 822, 830(Bankr. S.D.N.Y. 2002).

         26             In this case, the Adversary Proceeding involves core claims that are subject to the Court's

         27                    The Adversary Proceeding involves the allowance and disallowance of claims and is a

         28 proceeding affecting the adjustment of the debtor-creditor relationship. The Adversary Proceeding and


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          1      the Proof of Claim involve overlapping parties and the same factual basis that has been presented in all

          2 four of the related adversary proceedings litigated before the Court, including (i) the Debtor's

          3 relationship with HCCA,(ii) the Debtor's efforts to obtain financing that ultimately led to the Celtic

          4 Transaction,(iii) the recall election involving Kumar and Gutierrez and the dispute over their authority

          5 leading to clashes over what purported board actions were valid, (iv) the Defendants' opinion letter

          6 provided to the Celtic Parties, and (v) the Debtor's allegation that the Defendants took various

          7 inappropriate actions with respect to the Celtic Transaction and improperly received benefits flowing

          8 from the Celtic Transaction.

          9             Moreover, resolution of the Adversary Proceeding will necessarily liquidate a Debtor asset and

         10 determine the allowance or disallowance of the .Proof of Claim against the Debtor, both of which must

         11      be set-off against each other to determine the Debtor's net liability or amount owed. Thus, either (i) the

         12 Debtor's claims will fail or entitle the Debtor to a judgment against B&H in an amount less than the

         13 amount of the Proof of Claim, in which case the Court would allow the Proof of Claim in a reduced

         14 amount, or (ii) the Debtor will be entitled to a judgment against B&H in an amount greater than the

         15 amount of the Proof of Claim, in which case the Court would disallow the Proof of Claim, and enter

         16 judgment for the Debtor for the remaining amount. Regardless, the Adversary Proceeding will resolve

         17 the Debtor's claims against the Defendants and allowance or disallowance of the Proof of Claim based

          18 on a common and intertwined set of facts that the Court has dealt with on multiple occasions.

          19            Even if the Court were to find that this is not a core proceeding, this Court clearly has "related

         20 to" jurisdiction over the Adversary Proceeding. 28 U.S.C. § 1334(b). The Ninth Circuit Court of

         21      Appeals has held that "related to"jurisdiction "is very broad, including nearly every matter directly or

         22 indirectly related to the bankruptcy." Sasson v. Sokoloff(In re Sasson), 424 F.3d 864, 868 (9th Cir.

         23 2005). The test for determining if a case falls within a bankruptcy court's "related to" jurisdiction is

         24 whether:

         25                     the outcome ofthe proceeding could conceivably have any effect on the
                                estate being administered in bankruptcy. Thus, the proceeding need not
         26                     necessarily be against the debtor or against the debtor's property. An
                                action is related to bankruptcy if the outcome could alter the debtor's
         27                     rights, liabilities, options, or freedom of action (either positively or
                                negatively) and which in any way impacts upon the handling and
         28                     administration ofthe bankruptcy estate.

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          1 Senora, Inc. v. Courdert Bros., LLP, 2007 WL 1520966, *2 (N.D. Cal. May 24, 2007)(emphasis in

          2 original).

          3            Here, the test is easily satisfied. The Adversary Proceeding involves a claim by the Debtor

          4 against a creditor based on a common core of facts that has been at issue in the main bankruptcy case

          5 and in three other adversary proceedings before the Court,and that will necessarily determine the validity

          6 and amount of the creditor's claim against the Debtor and liquidate the Debtor's claim against the

          7 creditor. The Adversary Proceeding could conceivably have an effect nn the bankruptcy case by

          8 determining the amounts of allowable claims against the Debtor and the debtor-creditor relationship

          9 between the parties to the Adversary Proceeding.

         10 B.         This Court Should Retain Jurisdiction Over the Debtor's Lawsuit.
         11            It is undisputed that mandatory abstention under 28 U.S.C. § 1334 is inapplicable in cases -such

         12 as this -removed to a bankruptcy court. Senorx, Inc. v. Coudert Bros., LLC, 2007 WL 1520966, *2
         13 (N.D. Cal. May 24, 2007). Thus, the question before the Court is one of equity under 28 U.S.C.

         14 § 1452(b), which permits the bankruptcy court to remand the case for an "equitable ground." This
         15 standard is "an unusually broad grant of authority," and any one of the relevant factors may provide a

         16 sufficient basis to retain jurisdiction over a matter or remand it. Stichting Pensioenfonc~s A13P v.

         17 Countrywide Financial Corp.,447 B.R. 302, 312(C.D. Cal. 2010). As such, the question is committed

         18 to the sound discretion ofthe bankruptcyjudge and is reviewed on appeal only for an abuse ofdiscretion.
         19 In re Icenhower, 757 F.3d 1044, 1059(9th Cir. 2014).

         20             Courts may consider up to fourteen factors in determining whether to remand a case under 28

         21      U.S.C. § 1452(b):
         22            (1)     The effect or lack thereof on the efficient administration of the estate if the court

         23                    recommends remand;

         24            (2)     the extent to which state law issues predominate over bankruptcy issues;

         25            (3)     the difficult or unsettled nature of applicable law;

         26            (4)     the presence of related proceedings commenced in state court or other nonbankruptcy

         27                    proceedings;

         28            (5)     the jurisdictional basis, if any, other than § 1334;

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           1            (6)    the degree of relatedness ~r r~m~tene~s ~fthe pr~ceecling t~ the main ha.nkriartcy case;
          2            (7)     the substance rather than the form of an asserted core proceeding;
          3            (8)     the feasibility of severing state law claims from core bankruptcy matters to allow
          4                    judgements to be entered in state court with enforcement left to the bankruptcy court;

          5            (9)     the burden on the bankruptcy court's docket;

          Gi           (10)    the likelihood that the commencement of the proceeding in bankruptcy court involves

          7                    forum shopping by one of the parties;

          8            (11)    the existence of a right to a jury trial;

          9            (12)    the presence in the proceeding of nondebtor parties;

         10            (13)    comity; and

         11            (14)    the possibility of prejudice to other parties in the action.

         12 ~ In re Cedar Funding, Inc., 419 B.R. 807, 820(9th Cir. BAP 2009).

         13             Importantly, in determining whether a case should be remanded, the court should exercise its

         14 ~ discretion in determining which factors are relevant under the circumstances and the relative weight to

         15 ~ apply to those factors; the analysis is not a mechanical exercise of counting the number of factors
          16 weighing for and against remand. See e.g. In re Schlotzsky's Inc., 351 B.R. 430,435(Bankr. W.D. Tex.
          17 2006) (stating that whether to retain jurisdiction over a dispute must be guided by equitable

          18 considerations germane to the case and mechanical application of multi-factor tests are often "doomed
          19 to fail," and collecting cases on the same).

         20             The Senorx case is instructive. Senorx, Inc. v. Coudert Bros., LLC,2007 WL 1520966,*2(N.D.

         21      Cal. May 24, 2007). There, a former client filed a professional negligence claim against a law firm and

         22 various individual partners ofthe firm. After the firm filed a bankruptcy case and removed the litigation

         23 under 28 U.S.C. § 1452(b), the plaintiff filed a motion to remand. The court found that the claims

         24 constituted a core proceeding because the plaintiff had filed a proof of claim against the estate, and thus
         25 the lawsuit involved the "prototypical situation involving the allowance or disallowance of claims
         26 against the estate." (Id. at *1). The court also analyzed and denied the motion to remand, finding that
         27 ', the litigation would have an effect on the bankruptcy case because it would determine the validity and
         28 amount ofthe creditor's claims against the debtor and other claims "inextricably linked" to those claims.

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              (Id. at 2). And while the case involved purely state law claims, the court found that the applicable state

          2 law was "relatively straightforward" and did not support remand because "bankruptcy courts are capable

          3 ofresolving issues ofstate law." (Id.). Finally,the court found that comity did not favor remand because,

          4 despite the fact that the litigation had been pending in state court for approximately two years,"the court

          5 had not made significant progress." Id.

          6             The Court should apply the same reasoning here. As set forth above, the Adversary Proceeding

          7 is a core proceeding since it involves the Debtor's claims, and resolution of the Adversary Proceedinb

          8 will necessarily determine the validity, amount, and allowance of the Proof of Claim and the setoff of

          9 those mutual debts -claims that are inextricably linked because they are based on the same set of facts

         10 and issues. For the same reason, it makes no sense to attempt to sever the factually-related claims into

         11      segments and retain jurisdiction over the core claims while remanding others. Retaining jurisdiction will

         12 promote judicial economy and is further appropriate here because of the close relationship between the

         13 bankruptcy and the Adversary Proceeding. The relevant facts in the Adversary Proceeding are the same

         14 intertwined facts that have been at issue throughout the bankruptcy case and the Celtic and HCCA

          15 adversary proceedings, and this Court has extensive familiarity with these facts. This is especially

         16 relevant in this case, where the state court did not conduct a single hearing or take a single substantive

          17 action in the Adversary Proceeding prior to its removal and the case was removed within approximately ~

          18 30 days after the initial complaint was filed. Under these facts, it is clear that the state court had not

         fL•~ made "significant progress" or "invested significant effort" into this dispute. In re ArrrericanWest'

         20 j Bankcorporation, 2011 WL 6013779, *6(Bankr. E.D. Wash. Dec. 2, 2011)(denying motion to remand

         21      where there was"no indication that the state court invested significant effort in this controversy prior to

         22 its removal ...").

         23             Additionally, although the Adversary Proceeding involves the application ofstate law rather than

         24 federal law, courts have denied motions to equitably remand actions where — as here —the state law

         25 issues are straightforward. See In re Wai Yin Lam, 2019 WL 994342 *2 (Bankr. Haw. Feb. 26, 2019)

         26 (denying motion to remand case involving only state law claims where "[n]one of the state law claims

         27 are particularly novel or complex."). In fact, the United States Supreme Court has recognized that the

         28 claims allowance process, which is directly at issue in the Adversary Proceeding, "requires bankruptcy

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                 courts to consult state law in determining the validity of most claims." Travelers Cas. &Sur. Co. of~Am.

          2 v. Pacific Gas & Elec. Co.,549 U.S. 443,444(2007). Similarly, while a bankruptcy court, in the interest

          3 of comity, should "consider whether the state laws involved are complex such that they ought to be

          4 ~ construed and applied by state trial courts and reviewed by state appellate courts," this factor weigh

          5 against remand where — as here —the case is not likely to present complex or novel questions of state

          6 ~ law. Linkway Iv. Co. v. Olsen (In re Casamont Investors, Ltd.), 196 B.R. 517,524(9th Cir. BAP 1996);

          7 ~ In re Wai Yin Lam,2019 WL at *2.

          8             The Debtor argues that the Adversary Proceeding should be remanded because it has a right to a

          9          trial and will not consent to the Court conducting that trial. (Motion at 17). But it is well established

         10 that a party having a right to a jury trial and withholding its consent to having that trial in the bankruptcy

         11      court does not necessitate a remand. It simply means that the bankruptcy court may adjudicate all matters

         12 up to trial, then (if necessary)transfer the matter to district court for trial. For example, in Sigma Micro,

          13 the Ninth Circuit explained that even if the bankruptcy court cannot conduct a jury trial in a matter, it

         14 may still adjudicate all pre-trial matters, including matters of discovery, pre-trial conferences, and enter

          15 orders on diapositive matters such as motions to dismiss or motions for summary judgment. Sigma

          16 Micro Corp. v. Healthcentral.com (In re Healthcentral.com),504 F.3d 775,787(9th Cir. 2007). In tact,

          17 the court stated that "requiring that an action be immediately transferred to the district court simply

          18 because of a jury trial right would run counter to our bankruptcy system" which "promotes judicial

          19 economy and efficiency by making use of the bankruptcy court's unique knowledge of Title 11 and

         20 familiarity with the actions before them." (Id. at 787-88).

         21             That is exactly the situation here. Judicial economy and efficiency is promoted by this Court

         22 retaining jurisdiction over the Adversary Proceeding because of this Court's extensive experience with

         23 the common core of facts in this Adversary Proceeding which have been litigated before the Court in

         24 multiple proceedings for nearly two years. Stated simply, the Court is not required to remand this case

         25 to the state court —which did not expend any effort or make any progress with this matter —solely

         26 because the parties may have the right to a jury trial. Pursuant to the Ninth Circuit's holding in Sigma

         27 Micro, the Court may preside over this Adversary Proceeding until the case is ready for a jury trial (if

         28 necessary), and then transfer it to the District Court for the Eastern District of California, Fresno

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           1 ~ Division, for the trial itself.

          2             The remainder ofthe equitable remand factors are largely neutral or do not, on balance, weigh in

          3 favor ofremand. For example,the Debtor makes the conclusory allegation that this case involves forum

          4 shopping by the Defendants in an effort to "avoid the consequences of their actions." (Motion at 17.)

          5 But the Debtor fails to acknowledge or address that courts in the Ninth Circuit have found this factor is

          6 neutral where "the evidence does not indicate that any party chose his or its respective forum in an

          7 attempt to abuse or manipulate the judicial process." In re NE Opco, Inc., 2014 WL 4346080,*3(Bankr.

          8 C.D. Cal. Aug.28,2014). That is certainly applicable here where the Defendants removed the Adversary

              Proceeding as soon as reasonably possible after it was filed, there was no meaningful activity in the state

         10 court, and absolutely no evidence of wrongdoing or ill intent. Further, if there was any forum shopping

         11      at issue here it was by the Debtor, in failing to disclose to the State Court that this bankruptcy had been

         12 pending before the Court for over two years, and that many of the issues set forth in the Complaint had

         13 been considered by this Court. In addition, the Debtor alleges that the burden on the bankruptcy court's

          14 docket weighs "heavily" in favor of remand because the case would involve significant discovery and

          15 "law and motion practice." (Motion at 16.) The Defendants disagree. California courts have found that.

          [I 7 ifanything, this factor weighs against remand because the burden on the state court of litigating a matter

          17 is "probably greater" than the bankruptcy court. See In re Cytodyn of~New Mexico, Inc., 374 B.R. 733,

          18 741 (Bankr. C.D. Cal. 2007). This is particularly true when this Court is very familiar with the facts

          19 alleged by the Debtor. The Defendants respectfully suggest that this factor weighs in favor of retaining

         20 jurisdiction or should weigh heavily in either direction.

         21                                               IV.     CONCLUSION

         22             This Court has jurisdiction over the Adversary Proceeding and has presided over three other

         23 adversary proceedings and a contested matter involving a motion to reject based on the same facts and

         24 issues relevant here. The Court's resolution ofthis Adversary Proceeding will necessarily determine the

         25 validity and amount ofB&H's ProofofClaim and the set-offofsuch claim against any damages awarded

         26 to the Debtor and is thus a core proceeding affecting the liquidation of the assets of the debtor and the

         27 adjustment of the debtor-creditor relationship. Retaining jurisdiction over the Adversary Proceeding

         28 will promote judicial economy and further one of the fundamental goals of Bankruptcy Code of
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           1     consolidating and resolving disputes concerning a debtor in a centralized forum. The Court should not

                 remand the Adversary Proceeding to the state court which is generally unfamiliar with the facts and

                 circumstances and which took no action whatsoever in the Adversary Proceeding prior to removal.

          4             For the reasons stated herein, the Defendants respectfully request that the Court deny the Motion

          5 and grant all other relief that is appropriate under the circumstances.

          6             Respectfully submitted this 3rd day of July, 2019.

          7

          8 ~ Dated: July 3, 2019

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          12                                                      BAKER & HOSTETLER LLP and
                                                                  BRUCE R. GREENE,Esq.
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           1                                        CERTIFICATE OF SERVICE

                        I, Alice M.Kay, declare:

          3             I am a citizen of the United States, am over the age of eighteen years, and am not a party to or

          4 interested in the within entitled cause. My business address is 88 Kearny Street, 10th Floor, San

          5 ~ Francisco, California 94108.

          6             On July 3, 2019, I served the following documents)on the parties in the within action:

          7           OPPOSITION OF BAKER & HOSTETLER LLP AND BRUCE R. GREENE,ESQ.TO
                      AMENDED DEBTOR TULARELOCAL HEALTHCAREDISTRICT'S MOTION FOR
          8            REMAND OFLAWSUIT TO STATE COURTPURSUANT T028 U.S.C. ~ 1452(B)
          9
                         VIA MAIL: I am familiar with the business practice for collection and. processing of mail.
          10      X      The above-described documents) will be enclosed in a sealed envelope, with first class
                         postage thereon fully prepaid, and deposited with the United States Postal Service at San
         11              Francisco, California on this date, addressed as listed below.

         12              VIA E-MAIL: I attached the above-described documents)to an e-mail message, and
                         invoked the send command at approximately          AM/PM to transmit the e-mail
         13              message to the persons) at the e-mail addresses) listed below. My email address is
                         AKay~ampbf.com/
         14
                         VIA FACSIMILE: The above-described document was transmitted via facsimile and a
          15             copy of same was mailed on this same date to the addresses listed below.

         16              VIA FILE &SERVE: By causing a true and correct copy thereof to be served through
                         File & ServeXpress addressed to all parties appearing on the File & ServeXpress Serve
          17             electronic service list.

         18       Michael Lampe                                           Attorney For Plaintiff
                  LAW OFFICES OF M1CHA~;L J. LAMYE                        TULARE LOCAL HEALTHCARE
         19       108 West Center Avenue                                  DISTRICT, dba TULARE REGIONAL
                  Visalia, CA 93291                                       MEDICAL CENTER
         20

         21
                  Dirk B. Paloutzian                                      Attorney for Defendant
         22       Peter G. Fashing                                        LINDA WILBOURN
                  BAKER MANOCK & JENSEN,PC
         23       5260 North Palm Avenue, Fourth Floor
                  Fresno, CA 93704
         24       Phone: 559-432-5400
         25
                        I declare under penalty of perjury under the laws of the State of California that the foregoing is
         26
                 a true and correct statement and that this Certificate was executed on July 3, 2019.
         27
                                                              By
         28                                                        dice M. Kay

                                                                   17 -

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